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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   CASE NO. 1:09-cr-20264-JLK-1

  UNITED STATES OF AMERICA,

  v.

  JUNIOR SYLVIN,

        Defendant.
  ______________________________________/

                      ORDER DENYING MOTION TO REDUCE SENTENCE

            THIS CAUSE comes before the Court on Defendant Junior Sylvin’s Motion to Reduce

  Sentence (the “Motion”) (DE 706), filed September 25, 2020. The Court has also considered the

  Government’s Response in Opposition (DE 710), filed October 9, 2020, and Sylvin’s Reply (DE

  711), filed October 15, 2020.

       I.      BACKGROUND

            On July 21, 2010, Sylvin was convicted of five offenses: conspiracy to possess with intent

  to distribute 500 grams or more of cocaine and 5 grams or more of cocaine base (21 U.S.C. § 846,

  Count 1); unlawful possession with intent to distribute 500 grams or more of cocaine (21 U.S.C. §

  841(a)(1), Count 5); unlawful possession of a firearm by a convicted felon (18 U.S.C. § 922, Count

  6); possession of a firearm in the furtherance of a drug trafficking crime (18 U.S.C. § 924(c)(1)(A),

  Count 7); and possession with intent to distribute a detectable amount of cocaine (21 U.S.C. §

  841(a)(1), Count 14). DE 371. Sylvin’s current sentence is 211 months imprisonment. DE 371;

  DE 583. He now moves this Court to reduce his term of imprisonment pursuant to 18 U.S.C. §

  3582 based on “extraordinary and compelling reasons” resulting from the COVID-19 pandemic.

  See generally Mot.
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     II.       LEGAL STANDARD

            The compassionate release provision of 18 U.S.C. § 3582(c), as amended by the First Step

  Act of 2018, provides, in pertinent part, that “the court . . . upon motion of the defendant after the

  defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons

  to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such a request

  by the warden of the defendant's facility, whichever is earlier, may reduce the term of

  imprisonment . . . if it finds that extraordinary and compelling reasons warrant such a reduction”

  and if “such reduction is consistent with applicable policy statements issued by the Sentencing

  Commission[.]” 18 U.S.C. § 3582(c)(1)(A)(i); First Step Act of 2018, Pub. L. 115-391, § 603(b),

  132 Stat. 5194, 5239. According to the Sentencing Commission’s policy statement, “extraordinary

  and compelling reasons” may exist when the defendant suffers from (1) a “terminal illness” or (2)

  a “serious physical or medical condition . . . that substantially diminishes the ability of the

  defendant to provide self-care within the environment of a correctional facility and from which he

  or she is not expected to recover.” U.S.S.G. § 1B1.13, cmt. n.1(A).

     III.      DISCUSSION

            In the Motion, Sylvin argues that he should be released for “extraordinary and compelling

  reasons” resulting from the COVID-19 pandemic. See generally Mot. Specifically, Sylvin argues

  that the conditions of confinement at Butner Low CI (where he is housed) “create the ideal

  environment for spread” of the coronavirus, posing a health risk to himself and other prisoners

  alike. Id. In response, the Government argues that “[Sylvin’s] BOP medical records are void of

  any conditions that increased his risk of severe illness from COVID-19, and he has not identified

  any medical conditions, let alone one that falls within the categories specified in the policy

  statement’s application note.” Gov.’s Resp. at 13.
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         While the Court acknowledges the danger that many prisoners face with COVID-19, 1

  Sylvin has not identified any underlying health conditions that make him more vulnerable to severe

  illness, even if he did contract the virus. Moreover, Sylvin is only thirty-seven years old. Mot. at

  9. As a result, he is not suffering from a “terminal illness,” a “serious physical or medical

  condition,” or any other impairment that would constitute an “extraordinary and compelling

  reason” meriting a reduction in his term of imprisonment. U.S.S.G. § 1B1.13, cmt. n.1. United

  States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society

  and the possibility that it may spread to a particular prison alone cannot independently justify

  compassionate release.”); see also United States v. Haney, 19-cr-541 (JSR), 2020 WL 1821988, at

  *5 (S.D.N.Y. Apr. 13, 2020) (denying compassionate release for 61-year-old prisoner who was

  “in reasonably good health”). Sylvin’s Motion for Compassionate Release should be denied on

  that basis alone.

         Additionally, the statutory sentencing factors at § 3553(a) militate against granting his

  Motion. The Court recognizes the severity of Sylvin’s underlying criminal conduct, including his

  role as the leader of an illegal narcotics organization. After careful consideration, the Court is not

  satisfied that the safety of the public will be adequately protected if Sylvin were to be released at



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    On March 26, 2020, U.S. Attorney General William Barr instructed the Bureau of Prisons
  (“BOP”) to consider placing some prisoners on home confinement to mitigate the spread of
  COVID-19 within the federal prison population. Among other things, the BOP was instructed to
  consider “[t]he age and vulnerability of the inmate to COVID-19, in accordance with the Centers
  for Disease Control and Prevention (CDC) guidelines.” See Memorandum for Director of Bureau
  Prisons, William Barr, Attorney General, Prioritization of Home Confinement as Appropriate in
  Response to the COVID-19 Pandemic (Mar. 26, 2020). The CDC has explained that “older adults”
  and “people with underlying medical conditions” are at a greater risk of becoming seriously ill
  should they contract the virus, potentially requiring hospitalization, intensive care, and/or a
  ventilator to help them breathe. See Ctrs. for Disease Control and Prevention, People At Increased
  Risk      for     Severe     Illness,     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
  precautions/people-at-higher-risk.html (last visited October 19, 2020).
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  this time. See U.S.S.G. § 1B1.13(2) (explaining that a court may reduce a term of imprisonment

  only if the defendant “is not a danger to the safety of any other person or to the community.”).

         Accordingly, it is ORDERED, ADJUDGED and DECREED that Defendant’s Motion

  to Reduce Sentence (DE 706) be, and the same is, hereby DENIED.

         DONE AND ORDERED in chambers at the James Lawrence King Federal
  Justice

  Building and United States Courthouse, Miami, Florida, this 19th day of October, 2020.

                                        ______________________________________
                                             JAMES LAWRENCE KING
                                             UNITED STATES DISTRICT JUDGE


  cc: All Counsel of Record
